Case 1:19-cv-02501-VM Document 6 Filed 06/10/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
ex rel. SW CHALLENGER, LLC,
19 Civ. 2501 (VM)
Plaintiffs,
- against - : ORDER

EVICORE HEALTHCARE MSI, LLC,

Defendant. :
ae ee ee ee ee xX

VICTOR MARRERO, United States District Judge.

The Clerk of Court is directed to unseal the above-captioned

case.

SO ORDERED.

Dated: New York, New York
10 June 2020

 

 

 

2 “Victor Marrero
Os Seabed.
